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                             UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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   8   REVIVAL HEALTH PHARMACY, LLC,
   9   a Delaware Limited Liability Company,     Case No. 2:24-cv-04253-MWF-MAA
                                                 Hon. Michael W. Fitzgerald
  10                   Plaintiff,
  11              v.
  12                                             PRELIMINARY INJUNCTION
       AMERICA’S PHARMACY SOURCE,
  13   LLC, an Ohio Limited Liability Company,
  14                   Defendant.
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                                    PRELIMINARY INJUNCTION
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   1         Having considered Plaintiff Revival Health Pharmacy, LLC’s Ex Parte
   2   Application for Preliminary Injunction (the “Application” (Docket No. 18)), the
   3   declarations and documents supporting the Application, and the pleadings and other
   4   records on file in this action, and pursuant to Rule 65 of the Federal Rules of Civil
   5   Procedure, the Court now ORDERS as follows:
   6         IT IS HEREBY ORDERED that, pending final resolution of this action,
   7   Defendant Americas Pharmacy Source, LLC and its employees, agents, and any other
   8   persons acting with Defendant or on Defendant’s behalf who receive actual notice of
   9   this Preliminary Injunction by personal service or otherwise are:
  10         1.    ORDERED to transfer the pharmacy licenses to Plaintiff pursuant to the
  11               Binding Letter of Understanding for Sale of LLC Membership Interest
  12               (the “Agreement” (Docket No. 1-1));
  13         2.    ORDERED to transfer, sell, and assign 100% of the ownership interest in
  14               eazyScripts Technology, LLC (“eazyScripts”) to Plaintiff pursuant to the
  15               Agreement;
  16         3.    ENJOINED from any and all of the following activities:
  17                   a. using the pharmacy licenses at issue in the Agreement;
  18                   b. interfering with Plaintiff’s continued use of eazyScripts; and
  19                   c. liquidating any assets, equities, or monies, or otherwise harming the
  20                      interests, of eazyScripts or otherwise depleting the resources or
  21                      market value of eazyScripts.
  22         IT IS SO ORDERED.
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  24   Dated: June 21, 2024
  25                                          MICHAEL W. FITZGERALD
                                              United States District Judge
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                                    PRELIMINARY INJUNCTION
